
Gildersleeve, J.
The plaintiff is an auctioneer, and was employed by the defendant to make a sale at auction of a quantity of paintings. Before the-day fixed for the sale, the defendant notified the plaintiff that his services were dispensed with. Upon this refusal of the defendant to permit the plaintiff to conduct the sale, the plaintiff brought this action for breach of the contract of employment.
The right of plaintiff to recover depended upon the determination of issues of fact raised by the evidence, all of which were fairly submitted to the jury by the learned trial judge. The jury found in favor of the plaintiff, and we see no reason for disturbing their decision.
The exceptions to the ruling of the court are not of sufficient importance to require discussion.
. The judgment and order appealed from are affirmed, with costs.
Freedman, J., concurs.
